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05 “ Z:
IN THE UNITED STATES DISTRICT COURT 4(@`:9 \
FOR THE WESTERN DISTRICT OF TENNESSEE § l _____
EASTERN DIVISION jj jt if / €’4.-
§* ‘“ .
" 52A “/£/S/j¢(/`C go
RBP, LLC, ) /£M/?/`
) “/L©,, /
Plaintiff, )
)
vs. ) No. 04-]154 T/An
)
GENUINE PARTS CO. and INDIANA )
INSURANCE CO., )
)
Defendants. )
GENUINE PARTS CO., )
)
Third-Party Plaintiff, )
)
vs. )
)
ALLIANZ GLOBAL RISK U.S. )
INSURANCE CO. and LEXINGTON )
INSURANCE CO., )
)
Third-Party Defendants. )
ORDER STRIK]NG REPLY

 

Before the Court is Plaintiff"s Third Motion to Amend Complaint filed on May 26, 2005.
On August 5, 2005, Plaintiff filed a Reply Brief responding to a Memorandum filed by the Third-
Party Defendants addressing the Third Motion to Amend. Plaintif`f did not request leave of Court
prior to filing the Reply. As noted in the Rule l6(b) Scheduling Order entered in this ease,
“[n]either party may file an additional reply, however, Without leave of court.” Therefore,

because Plaintiff did not request permission to file the Reply, the Court orders that Plaintiff"s

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with Rufe 58 and,' or 79 (a) FRCP on p 8

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reply be stricken.

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date; £O¢Mj¢!' 200.)"

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 124 in
case 1:04-CV-01154 Was distributed by f`aX, mail, or direct printing on
August 9, 2005 to the parties listed.

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Honorable J ames Todd
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